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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

John Hancock Life Insurance Company )
(U.S.A.) f/k/a Manufacturers           )
Life Insurance Company,                )
                                       )                Civil Action 4:18−cv−02869
                     Plaintiff,        )
                                       )
       v.                              )
                                       )
The Estate of Jennifer Lauren Wheatley )
c/o Louis A. Wheatley, et al.          )
                                       )
                     Defendants.       )

                          OFFER OF JUDGMENT
     PURSUANT TO RULE 68 OF THE FEDERAL RULES OF CIVIL PROCEDURE

            Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a Manufacturers Life

Insurance Company (“John Hancock”) submits the following offer of judgment to Defendant

The Estate of Jennifer Lauren Wheatley (the “Wheatley Estate”) pursuant to Federal Rule of

Civil Procedure 68. Judgment may be had by the Wheatley Estate against John Hancock in the

amount of $25,000.00, as a full and final satisfaction of all counterclaims asserted by the

Wheatley Estate in this case, including prejudgment interest and all claims for costs accrued as of

the date of this offer of judgment.

            In accordance with Rule 68, this Offer of Judgment shall be deemed withdrawn if it is not

accepted within fourteen days of service and shall not be admissible except in a proceeding to

determine costs and reasonable attorney fees. This Offer of Judgment is made solely for the

purposes of Rule 68 and is not an admission of liability by John Hancock.




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ACCEPTED BY:


THE ESTATE OF JENNIFER LAUREN
WHEATLEY

By: _______________________________       Date: __________________________




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                                            BRYAN CAVE LEIGHTON PAISNER LLP


                                            By: /s/ Gregory J. Sachnik
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                                                   Attorneys for Plaintiff John Hancock Life
                                                   Insurance Company (U.S.A.)




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on January 30, 2020, the foregoing was served via
electronic mail to all counsel of record.

                                                     /s/ Gregory J. Sachnik
                                                     Attorney for Plaintiff




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